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             ORAL ARGUMENT NOT YET SCHEDULED
                           No. 22-1097
                   ____________________________

          IN THE UNITED STATES COURT OF APPEALS
           FOR THE DISTRICT OF COLUMBIA CIRCUIT
                  ____________________________

                ALI HAMZA AHMAD SULIMAN AL BAHLUL,
                            Petitioner,

                                  v.

                      UNITED STATES OF AMERICA,
                             Respondent.
                     ____________________________

        ON PETITION FOR REVIEW FROM A DECISION OF
        THE COURT OF MILITARY COMMISSION REVIEW
                    CASE NO. CMCR-21-003
                  ____________________________

    BRIEF FOR CONCERNED MUSICIANS AS AMICUS CURIAE
                IN SUPPORT OF PETITIONER
                 ____________________________

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 CERTIFICATE AS TO PARTIES, RULINGS, AND RELATED CASES

     Pursuant to D.C. Circuit Rule 28(a)(1), amicus curiae submits this

certificate as to parties, rulings, and related cases.

  A. Parties and Amici

     Except for the following, all parties, intervenors, and amici

appearing in this court are listed in the Brief for Petitioner: Amicus

curiae Concerned Musicians, consisting of Robert del Naja and his

musical collective Massive Attack, Henry Shearer, and Roger Waters.

  B. Rulings under Review

     References to the decision at issue appear in the Brief for Petitioner

Ali Hamza Ahmad Suliman al Bahlul.

  C. Related Cases

     Related cases are listed in the Brief for Petitioner Ali Hamza

Ahmad Suliman al Bahlul.




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                  RULE 26.1 DISCLOSURE STATEMENT

      Amicus Concerned Musicians and its member Massive Attack

have no parent corporations, and no publicly held corporations own any

of their stock.




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 CERTIFICATE OF COUNSEL REGARDING AUTHORITY TO FILE

     Pursuant to FRAP 29(a)(2), all parties to the litigation have

consented to the filing of this amicus brief.

     Pursuant to D.C. Circuit Rule 29(d), counsel for amicus curiae

Concerned Musicians certifies that amicus is not aware of any other non-

governmental amicus brief addressing the subject of this brief.




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   CERTIFICATE REGARDING AUTHORSHIP AND FINANCIAL
                   CONTRIBUTIONS

Amicus curiae certifies pursuant to FRAP 29(a)(4)(E) that:

  (i)    No party’s counsel authored the brief in whole or in part;

  (ii)   No party or party’s counsel contributed money that was intended

         to fund preparing or submitting the brief; and

  (iii) No person—other than the amicus curiae, its members, or its

         counsel—contributed money that was intended to fund

         preparing or submitting this brief.




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                         INTEREST OF AMICUS

        The members of Amicus are all musicians who have a particular

link to the abuse of prisoners in Guantánamo Bay and in other secretive

U.S. prisons. The members of Amicus are as follows:1

        1. Robert del Naja & Massive Attack: Massive Attack is an English

          trip hop collective formed in 1988 in Bristol. In 2008, they

          curated the Southbank Meltdown, focusing heavily on the

          recently released evidence of the torture of UK resident Binyam

          Mohamed. In 2010 they worked with the Audio Laboratory at

          Cambridge University on Saturday Come Slow, an exploration

          of the manner in which music was used to abuse prisoners in

          Guantánamo Bay.2




1   Amicus understands that people may have very different political views
and hence this brief brings together musicians on one clearly defined
issue: that music should not be used to torture. Amicus is aware of many
other musicians whose work has either been used in the abuse, or who
have composed on the subject, who have been unable formally to join the
brief. Often this can be a result of contractual issues with corporate
entities with whom they have business relationships, but this does not
mean the individual musicians are not very sympathetic to the questions
in this brief. The members of Amicus are able legitimately to represent
the interests of individuals far beyond the numbers listed here.
2 See https://www.youtube.com/watch?v=XCjRpe07AKk (accessed Nov.

21, 2022).
                                     1
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     2. Harry Shearer: is a musician, actor, and comedian. He is well

        known for his role as bassist Derek Smalls in This is Spinal Tap

        and (using this alter ego) recently authored an OpEd in the New

        York Post titled “One Louder” about the use of music to abuse

        prisoners—the reference being to the Spinal Tap amplifier that

        went up to 11. He has written a number of songs concerning

        Guantánamo Bay and the abuse of prisoners, including Who is

        Yoo?, Waterboardin’ USA and We Tortured some Folk.

     3. Roger Waters: in 1965, he co-founded the progressive rock band

        Pink Floyd, in which he variously served as the bassist, lyricist,

        vocalist and conceptual leader until his departure in 1983. For

        the past 40 years, he has continued to inject political and human

        rights issues into his music, sometimes influenced by issues of

        war, inspired in part by the death of his father during the Battle

        of Anzio in Italy in 1944. A trenchant critic of torture and of

        Guantánamo, his recent song Picture That asks the audience to

        consider the misery of prisoners there.

The purpose of their intervention is to provide an insight into how this

abuse is tainting American society and culture well beyond even the


                                    2
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horrific acts of torture themselves. Amicus also raises a strenuous

objection to the abuse of art by U.S. authorities (in the course of abusing

human beings), which Amicus deems contrary to the basic norms of

civilized society.

                        STATEMENT OF FACTS

      The strange world that is Guantánamo Bay came into its current

iteration in January 2002. Since then, insofar as it is relevant to the issue

before this Court, the members of Amicus (and others) have described

many of the reasons why statements extracted by abuse cannot be viewed

as voluntary.

      1. The Abuses Suffered by Appellant, Charted in Music.

      All Guantánamo prisoners’ trauma begins in a faraway country

when they are turned over – perhaps 86 percent of the time sold for a

bounty3 – to the U.S. Normally the prisoners suffered violence where

they were first detained, which in Appellant’s case was the border with




3 Denbeaux, Mark, Denbeaux, Joshua W. & Gregorek, John Walter,
Report on Guantanamo Detainees: A Profile of 517 Detainees Through
Analysis of Department of Defense Data (February 2006), Seton Hall
Public    Law      Research    Paper    No.      46,     available    at
SSRN: https://ssrn.com/abstract=885659 or http://dx.doi.org/10.2139/ssr
n.885659.
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Pakistan as he tried to leave Afghanistan. He was held by local forces for

ten days, and then for two weeks from December 26, 2001, in Kandahar

Air Force Base4 under notoriously harsh conditions. Appellant arrived in

Guantánamo Bay on January 11, 2002, when the base was at its most

raw – the new arrivals held in Camp X-Ray outdoor cages surrounded by

guard towers.

      Appellant came to Cuba via the process called “extraordinary

rendition” as Roger Waters describes in Picture That:

           Wish you were here in Guantánamo Bay:
           Picture a seat on a private plane,
           Picture your feet nailed to the floor;
           Picture a crew who are clearly insane,
           Picture no windows, picture no doors…5

In 2008, Massive Attack projected prisoner statements above the River

Thames describing the various forms of torture along with what band

member Rob Del Naja described as “an alternative travel guide to the




4 See New York Times Guantánamo Docket, JTF-GTMO Assessment for
Ali    Al    Bahlul    at    4  (Nov.    15,   2007),    available    at
https://int.nyt.com/data/documenttools/82835-isn-39-ali-hamza-ahmad-
suliman-al-bahlul-jtf/4d141c6705ba3f6b/full.pdf (accessed Nov. 4, 2022).
5 See https://www.youtube.com/watch?v=99cIUjPYqDE (accessed Nov. 4,

2022).
                                   4
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world based on your rendition map which shows how terrorist suspects

have been flown across the globe.”6

      The rendition process was intended to be part of breaking the

prisoner’s spirit. In addition to hooding and shackling, prisoners were

forced to use the toilet with soldiers of both genders watching, a profound

trauma to a conservative Muslim. Thus, rendition came replete with its

own torture, as described by Misery Index in Black Sites:

           Leviathan devours all...
           Nameless agents haunt the shadow world
           Stateless numbers plan clandestine deeds
           To the ranks of the long disappeared
           They become your whole reality, your silencer, your lonely
           God
           And across the Styx you'll ride,
           When torture angels come to take you home
           Simulated death endured, rope tears into wrists
           Swollen head in blackened hood, blinded blistered face
           Hang upright puking blood, routine torture test
           As minions of the State have their way with you
           Beaten, drugged, broken limbs
           Burned, drowned, dissidents
           The work of death, carried out, in all our names... again
           "Rendition is not a problem" (until it’s you).7




6 See https://massiveattack.ie/scans/observer-feature-for-meltdown-
festival (accessed Nov. 4, 2022).
7 See https://genius.com/Misery-index-black-sites-lyrics (accessed Nov. 4,

2022).
                                    5
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        Appellant found himself on the other side of the world. It is lost on

nobody that Guantánamo was selected because it was thought – before

Rasul v. Bush, 542 U.S. 466 (2004) – to be beyond the boundaries of the

law, a legal black hole, as Dave Peirce writes in Will you Christians and

Jews:

             The USA welcomes young Islamic tourists
             To waterboard down on Guantanamo Bay
             Conveniently outside its judicial boundaries
             Together at the pleasure of the torturers' play.8

Guantánamo was, at a basic level, intended to cause suffering to the

prisoner, as Pete Townshend (of The Who) writes in Ball & Chain:

             That pretty piece of Cuba
             Designed to cause men pain
             Oh, when you light up in Cuba
             You won't feel the same again.9

        Some of the rendition experience was replicated by conditions at

Guantánamo. For example, en route to interrogation the same shackling




8 See https://www.youtube.com/watch?v=5mg5k1wUJ2c (accessed Nov.
4, 2022).
9 See https://www.youtube.com/watch?v=qWGqcX-QXEw (accessed Nov.

4, 2022); See also David Rovics, After We Torture Our Prisoners (“[w]hen
you torture my brother at gunpoint … his head [in] a canvass sack”),
https://www.youtube.com/watch?v=TN7Lv0PR4Q8 (accessed Nov. 4,
2022).
                                     6
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and hooding would be used. As the band Judas Priest recall in Screaming

for Vengeance:

            We are screaming, screaming for vengeance
            The world is a manacled place
            Screaming, screaming for vengeance
            The world is defiled in disgrace
            Tie a blindfold all around your head
            Spin you 'round in the torture before the dread
            And then you're pushed and shoved into every corner…10

      There are many ways in which the abuses in Guantánamo rapidly

became iconic, as with Xiu Xiu’s tune, Guantánamo Canto, inspired by

the wheeling of prisoners to their interrogation, “Confess, tied to a

stretcher.”11

      Meanwhile, many prisoners have described how the use of

deception, where the prisoner thought that someone else (perhaps a loved

one) was being tortured, was among the most psychologically damaging.

This is one subject of The Nightwatchman’s song, King of Hell:

            I'm gonna find out what the screaming's about
            On the other side of that door…12


10  See https://genius.com/Judas-priest-screaming-for-vengeance-lyrics
(accessed Nov. 22, 2022).
11 See https://genius.com/Xiu-xiu-guantanamo-canto-lyrics (accessed

Nov. 4, 2022).
12   See https://genius.com/The-nightwatchman-the-king-of-hell-lyrics
(accessed Nov. 4, 2022).
                                  7
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In reality, as David Rovics described it in Guantánamo Bay, for years

Appellant would not see his family, and only have the barest, highly-

censored, communications with them on ICRC postcards:13

           The sign it said welcome to the US of A
           In the Republic of Cuba, Guantanamo Bay
           Past the barbed wire fence and the field of mines
           You can see the men who left their families behind
           To burn 'neath the sun to be tortured and killed
           Where their stomachs are empty and their spirits are grilled
           If you're looking for freedom this is the price you must pay
           It's written in blood on Guantanamo Bay.14

      Polly “P.J.” Harvey wrote a song entitled Shaker Aamer, named for

a British resident held at Guantanamo, encapsulating the way in which

his humanity faded away along with his mind and body:

           I can't think straight, I write, I stop
           Your friend Shaker Aamеr, lost:
           The guards just do what they're told;
           The doctors just what they're told.15

Far from eliciting sympathy, even the suicides by the prisoners were

portrayed not as desperation but as a form of ‘asymmetrical warfare,’




13 Even after more than a decade they would only be allowed the
occasional Skype call.
14 See https://genius.com/David-rovics-guantanamo-bay-lyrics (accessed

Nov. 4, 2022).
15 See https://www.theguardian.com/music/audio/2013/aug/03/pj-harvey-

shaker-aamer-song-audio (accessed Nov. 4, 2022).
                                   8
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intentional self-harm, as in Guantanamo Canto by Xiu Xiu: “Your suicide

is politics? Nay, misery…”16 There were 350 such incidents in 2003, with

150 examples of detainees attempting to hang themselves,17 and at least

seven ‘successful’ suicides.

      As David Rovics depicted it in There is a Cage:

           Wherever you find them, it's a tell-tale sign
           Of a society's precipitous decline
           When the people in power feel they must resort
           To conditions too confined to be sanctioned by the court
           They keep prisoners in them for hours, days, weeks
           As long as required for the end they seek
           No marks left on the victim, what a perfect crime
           No evidence of torture after all that time.18

This element of nihilism similarly inspired Zain Bhikha in his song

Guantánamo Bay:

           And so ends all romantic notions
           Discard due process, and redesign justice
           Detained by decree, starved of humanity
           Unaccused and untried, unconvicted … unjustified.

                               ***




16  See https://genius.com/Xiu-xiu-guantanamo-canto-lyrics (accessed
Nov. 4, 2022).
17 Associated Press, 23 Detainees Attempted Suicide in Protest at Base,

Military says (Jan. 25. 2005).
18 See https://davidrovics.bandcamp.com/track/there-is-a-cage (accessed

Nov. 4, 2022).
                                   9
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           And the lost souls of Guantanamo Bay
           Guantanamo Bay.19

      There was the pressure to inform as State Radio relate in their song

Guantánamo:

           Hear you sold your friend
           Got a good price at the local store
           You know he could've turned you in
           Could have been you on the concrete floor
           Jefferson roll over and tell ol' Stalin the news
           They got 'em looked up in the Castroland
           Redefining abuse in shades of grey.

                                         ***
           Still the years they go by,
           No charge of trial date;
           You're accused of whatever you confess to,
           Until then you won't see the light of day

           There must be another way
           There must be another way…20

      Head Crusher, by Megadeath, approaches the issue of whether,

once the prisoner has said something in Guantánamo under threat, he

can meaningfully recant:




19 See https://www.youtube.com/watch?v=FqDJBdTyY-4 (accessed Nov.
4, 2022).
20 See https://genius.com/State-radio-guantanamo-lyrics (accessed Nov.

4, 2022).
                                   10
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           Beaten, broken, in bloody rags
           Adding insult to injury, he recants
           But it's much too late, now let the torture begin21

Of course he cannot.

      The term “Kafka-esque’” found a great deal of use in connection

with the prison, and detention of prisoners effectively incommunicado for

years without rights was addressed at greater length by The Divine

Comedy in Guantánamo:

           They haven't departed
           They haven't gone home
           The trials haven't started
           No evidence shown
           They don't get no visits
           They don't get no calls
           And nobody tells them
           Nothing at all

           The headphones and the blindfolds
           The days and the weeks
           The overalls of orange
           The manacled feet
           A Kafka-esque nightmare
           A legal black hole
           A corner of Cuba
           Named Guantanamo22




21 See https://www.youtube.com/watch?v=XurU3TPHjzY (accessed Nov.
4, 2022).
22 See https://genius.com/The-divine-comedy-guantanamo-lyrics

(accessed Nov. 4, 2022).
                                   11
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        And ultimately one of the most pernicious aspects of this sorry saga

is that the Bush Administration attempted to preclude legal oversight of

these crimes by having two lawyers write contorted legal memoranda

attempting to redefine torture. This is encapsulated in Harry Shearer’s

song Who is Yoo:23

              All these laws and treaties,
              You want something new,
              This war may last forever,
              You’d need to turn the screw,
              He’s teaching law at Berkeley he’ll drop the other shoe,
              The Bill of Rights expired,
              The one who knows is Yoo.

              Who is Yoo?
              Catch him if you can,
              Tortured Memo man,
              Who is Yoo?
              He just banned the ban,
              Tortured memo man.

        Forgotten in the discussion of ‘torture’ are the ‘lesser’ abuses: the

UN does not stop at torture—as made clear in the Convention against

Torture and Other Cruel, Inhuman or Degrading Treatment or

Punishment (“CAT”).24 Historically, moreover, this country has


23   The lyrics are transcribed from the song.
 Adopted and opened for signature, ratification and accession by United
24

Nations General Assembly resolution 39/46 of Dec. 10, 1984, Treaty Doc.
No. 100–20, 1465 U.N.T.S. 85.
                                      12
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developed the rule of law to apply to statements be rendered involuntary

by threats or promises that fall far short even of “Cruel, Inhuman or

Degrading Treatment.”

      There has been a great quantity of music composed about torture

and rendition by the U.S. since 9/11 – searing and condemnatory in one

form or another. There has been little condemnation of torture in the

courts, and virtually no analysis of the pernicious impact on ‘legal

voluntariness’ of the broad range of abuses.

      Musicians have played an essential role in prompting a dialogue

about national conscience; here, music is ironically used as a tool of

mistreatment. It is past time for this to meet the condemnation it merits.

      2. Music Used to Torture

      One of the relatively novel forms of abuse used on prisoners was the

use of extremely loud music which thundered day and night. This

inspired Massive Attack in their curation of the South Bank Meltdown

Festival in 2008 to focus on what had been done to detainee Binyam

Mohamed:

           During his time in the U.S. “secret prison system”
           [Guantánamo Detainee ISN 1458] Binyam [Mohamed]
           experienced a varied menu of torture techniques which
           grimly illustrate what happens when the “gloves come off”
                                   13
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           and legal safeguards are thrown out of the window. During
           his almost seven-years in U.S. prisons, his suffering
           included beatings, being slashed with razors, having loaded
           guns put to his chest and being hung up for a week at a time.
           But it was “torture music” that Binyam found hardest to
           bear.
                                      * * *
           Torture music is not “torture-lite,” despite being designed to
           “leave no marks.” The method has a history and a science. The
           CIA realized, through psychological experiments in the 1950s
           and 60s that you could break down a person’s identity and
           trigger psychosis through sensory deprivation and overload.
           Recognizing its seriousness, the United Nations (U.N.) and
           European Court of Human Rights (ECHR) have already
           outlawed the use of music in this fashion. The U.N. called it
           torture and the ECHR, cruel and inhuman treatment.
           However U.S. forces have continued to use this method.25

      When it comes to Guantánamo Bay, many reports come from former

prisoners. Appellant arrived in Cuba early in the piece – on January 11,

2002, the day the prison officially opened. The Tipton Three (Shafiq

Rasul, Asif Iqbal, and Rhuhel Ahmed) were young British citizens who

arrived shortly after Appellant, to be subjected to endless replays of “a

dance version of Eminem” as well as “loud rock or heavy metal music.”26




25 ACLU, Torture Music Leaves No Marks, But Destroys Minds (June 17,
2009), available at https://www.aclu.org/news/speakeasy/torture-music-
leaves-no-marks-destroys-minds (accessed Nov. 4, 2022).
26 Statement by the ‘Tipton Three’, at 67, 77 (July 23, 2004). Iqbal arrived

in Guantánamo on January 14, 2002, Rasul on February 10, and Ahmed
on February 11, 2002.
                                    14
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Rasul and Iqbal wrote to the Senate Armed Services Committee in May

of 2004 describing “loud music played that was itself a form of torture.”27

      Another British national, Tarek Dergoul (who arrived in

Guantánamo May 2, 2002), described how “[t]hey played US music very

loud during interrogations,”28 where they also mocked his religion. The

loud music was both physically and culturally jarring. For example,

“Deicide’s ‘F*** Your God’ was named as ranking pretty high on the

favorites list for torture, and it’s pretty obvious why.”29

      The Swede Mehdi Ghezali (who arrived in Guantánamo on January

17, 2002) describes various scenes:

           Ghezali has described to Amnesty International the pain of
           “short shackling” in interrogations: “There was a ring
           attached to the floor. They chained your hands and feet to this
           ring. You had to sit chained with your arms between your legs
           from underneath. In this way, they could let you sit for
           hours."… He said that during interrogations rap and heavy




27 Amnesty International, United States of America, Human dignity
denied Torture and accountability in the ‘war on terror’, at 35 (October
27,    2004),    available    at    http://web.amnesty.org/library/index/
engamr511452004 (“AI Report”).
28 AI Report, supra note 27, at 37.
29 Debra Kelly, Songs That Were Used To Torture Prisoners (July 21,

2022), available at https://www.grunge.com/109853/songs-used-torture-
prisoners/ (accessed Nov. 21, 2022) (“Kelly, Songs that were used to
Torture”).
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           metal music was played loud, or sometimes loud un-tuned
           radio noise, which was "very unpleasant".30

The   New Statesman reported various prisoners alleging that

interrogators used Aerosmith, Eminem, Don McLean (“American Pie”’),

Bruce Springsteen (“Born in the USA”), Tupac Shakur, Meat Loaf, and

Barney's theme song.31 Endless repetition at earsplitting volume was

intended to disorient and abuse its victims.

      Binyam Mohamed described Eminem’s “White America” being

played at him at excruciating volume 24 hours a day for twenty days.

Since the song is 5:25 long, this translates to roughly 5300 times. Mr.

Mohamed and Appellant spent much time together, discussing in

bewilderment the abuses inflicted by the U.S.

      Whatever one makes of detainee accounts, many descriptions of

prisoner abuse in Guantánamo have come from observers rather than

detainees. The New York Times reports:

           One regular procedure that was described by people who
           worked at Camp Delta, the main prison facility at the naval
           base in Cuba, was making uncooperative prisoners strip to
           their underwear, having them sit in a chair while shackled
           hand and foot to a bolt in the floor, and forcing them to endure

30 AI Report, supra note 27, at 16.
31 Clive A. Stafford Smith, Torture by Music, at 1, New Statesman (Nov.

6, 2006), available at http://www.newstatesman.com/ 200611060029.
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            strobe lights and screamingly loud rock and rap music played
            through two close loudspeakers, while the air-conditioning
            was turned up to maximum levels, said one military official
            who witnessed the procedure.32

The music included songs by Limp Bizkit, Rage Against the Machine, and

Eminem.33

      The Washington Post writes that FBI observers in Guantánamo

observed the use of music:

            In an e-mail dated Aug. 16, 2004, an agent from the FBI's
            inspection division reported observing a detainee sitting in an
            interview room at Guantánamo Bay's Camp Delta 'with an
            Israeli flag draped around him, loud music being played and
            a strobe light flashing.'34

In another e-mail, an FBI agent recounts at least three instances of

detainees shackled with "extremely loud rap music" surrounding them.35




32 Neil A. Lewis, Broad Use of Harsh Tactics Is Described at Cuba Base,
New       York     Times    (October     17,     2004),   available  at
http://select.nytimes.com/search/restricted/article?res=FA0613F83E5E0
C748DDDA90994DC404482 (“Lewis, Harsh Tactics”).
33 Lewis, supra note 32, Harsh Tactics.
34 Dan Eggen & R. Jeffrey Smith, FBI Agents Allege Abuse of Detainees

at     Guantanamo       Bay    (Dec.     21,     2004),   available  at
http://www.washingtonpost.com/ac2/wp-dyn/A14936-
2004Dec20?language=printer (“Eggen & Smith, FBI Agents Allege
Abuse”).
35 Eggen & Smith, supra note 34, FBI Agents Allege Abuse.

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      The New York Times identifies some of the music and added reports

of other types of sounds being used as abuse:

           Military officials who participated in the practices said in
           October [2004] that prisoners had been tormented by being
           chained to a low chair for hours with bright flashing lights in
           their eyes and audio tapes played loudly next to their ears,
           including songs by Lil' Kim and Rage Against the Machine
           and rap performances by Eminem.

           In a recent interview, another former official added new
           details, saying that many interrogators used a different audio
           tape on prisoners, a mix of babies crying and the television
           commercial for Meow Mix in which the jingle consists of
           repetition of the word ''meow.36

      Some material comes from official records that were once, but are

no longer, classified. With respect to Detainee Mohammed al-Qahtani

(who arrived on February 13, 2002), Time magazine published the entire

log covering November 23, 2002 to January 11, 2003. The Pentagon used

music on al-Qahtani37 including at least some by Christina Aguilera.38 In



36 Lewis, Harsh Methods at Guantánamo, New York Times (January 1,
2005),     available at     http://select.nytimes.com/search/restricted/
article?res=F20A11FC3E5D0C728CDDA80894DD404482.
37 Adam Zagorin & Michael Duffy, Inside The Interrogation Of Detainee

063. Exclusive: To Get The "20th Hijacker" To Talk, The U.S. Used A
Wide Range Of Tactics. A Secret Log Reveals The First Documented View
Of How Gitmo Really Works, Time Magazine (June 12, 2005), available
at http://www.time.com/time/magazine/printout/0,8816,1071284,00.html
(“Zagorin & Duffy, Detainee 063”).
38 Zagorin & Duffy, supra note 38, Detainee 063.

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the log the word "music" appears 52 times.39 While the log generally isn't

specific about what other songs are used, it shows the frequent, daily use

of music to help extract information from the detainee. Meanwhile, a

former translator separately identified other music used on al-Qahtani:

           Erik Saar, a former Gitmo translator, describes in his book
           Inside the Wire how Qahtani "was subjected to strobe lights;
           a loud, insistent tape of cats meowing (from a cat food
           commercial) interspersed with babies crying; and deafening
           loud music--one song blasted at him constantly was Drowning
           Pool's thumping, nihilistic metal rant 'Bodies.'40

Guantánamo often appears immune to irony:




39 See, e.g., Center for the Study of Human Rights in the Americas,
Interrogation Log of al-Qahtani (Complete, 23 Nov. 2002 – 11 Jan. 2003),
available     at     https://humanrights.ucdavis.edu/projects/the-guantanamo-
testimonials-project/testimonies/testimony-of-an-interrogation-
log/interrogation-log-of-mohammed-al-qahtani-complete (accessed Nov. 9, 2022)
(“Detainee begins to chant. SGT R says, “If you continue to chant, I’ll turn
on the music” Detainee stops chanting.”; “Detainee was hooded and taken
back to primary interrogation booth. Loud music was played and the
“devil in the smoke” theme was run.”; “Christina Aguilera music played.”;
“Detainee was told to stand and loud music was played to keep detainee
awake. Was told he can go to sleep when he tells the truth.”; “Detainee
was subjected to white noise (music) waiting for his IV’s to be completed.”;
“A variety of musical selections was played to agitate the detainee.”;
“Upon entering booth, lead changed white noise music and hung pictures
of swimsuit models around his neck. Detainee was left in booth listening
to white noise . . . he began to cry quietly at this point”).
40 Moustafa Bayoumi, Disco Inferno, The Nation (Dec. 26, 2005),

available        at       http://www.thenation.com/doc/20051226/bayoumi
(“Bayoumi, Disco Inferno”).
                                       19
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           In 2017, Guantánamo Bay officials were busy booking
           entertainment for July 4. Yes, really. Among the scheduled
           acts was Drowning Pool, but even the name-redacted officials
           who were emailing back and forth thought this might not be
           the best idea. The emails — made public by the Freedom of
           Information Act — talked about how their live appearance at
           the base might be seen as being in poor taste, considering
           their song had been playing on a constant loop for 10 days
           while interrogators questioned Mohamedou Ould Slahi.41

The Nation offers some other examples from the play list:

           In Guantánamo Bay, Eminem, Britney Spears, Limp Bizkit,
           Rage Against the Machine, Metallica (again) and Bruce
           Springsteen ("Born in the USA") have been played at mind-
           numbing volumes, sometimes for stretches of up to fourteen
           hours, at detainees.42

One FBI agent assigned to Guantánamo writes that he observed

techniques “not associated with the FBI,” noting in particular:

           I occasionally saw sleep deprivation interviews with strobe
           lights and two different kinds of loud music. I asked one of the
           interrogators what they were doing they [sic] said that it
           would take approximately four days to break someone doing
           an interrogation 15 hours on with the lights and music and
           four hours off. The sleep deprivation and the lights and the
           alternating beats of music would wear the detainee down.43




41 Kelly, supra note 29, Songs that were used to Torture.
42 Bayoumi, supra note 40, Disco Inferno.
43 Denbaugh M., Hafetz J. & Denbaugh J., Guantánamo: America’s Battle

Lab, Seton Hall Univ. Law, at 28, available at https://law.shu.edu/policy-
research/upload/guantanamo-americas-battle-lab-january-2015.pdf
(accessed Nov. 23, 2022).
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In reality, this reflected a systematic, pseudo-scientific approach to the

use of music as torture in Guantánamo Bay.

      Quite rightly, musicians – including Tom Morello of Rage Against

the Machine - have expressed horror that their work was being used in

this way:

            Guantánamo may be Dick Cheney's idea of America, but it's
            not mine. The fact that music I helped create was used in
            crimes against humanity sickens me…44

      The work of different artists was used around the world including

Aerosmith,45 and rap music by Tupac Shakur.46 Ali Shalal Qaissi, whose

image appears in one of the infamous hooded photographs from Abu

Ghraib, spoke of being "bombarded with a looped sample of David Gray's

'Babylon.' It was so loud, he said, 'I thought my head would burst.'"47




44 AFP, US bands blast use of music in Guantanamo interrogations (Oct.
22, 2009), available at https://web.archive.org/web/20091025152431/
http://news.yahoo.com/s/afp/usattacksguantanamomusicprisoners
(accessed Nov. 11, 2022).
45 Phil Hirschkorn, Pentagon IDs Suspected terror Accomplice:

Detainee's lawyer denies accusation, alleges torture, CNN.com (Dec. 10,
2005),      available      at     http://www.cnn.com/2005/LAW/12/09/
padilla.accomplice/index.html (“Hirschkorn, Pentagon ID’s Suspected
Accomplice”).
46 Hirschkorn, supra note 45, Pentagon ID’s Suspected Accomplice.
47 Bayoumi, supra note 40, Disco Inferno.

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Often heavy metal music like AC/DC "Hell's Bells" and "Shoot to Thrill,"

along with Metallica's "Enter Sandman"48 was used. In 2003, Sergeant

Mark Hadsell openly declared to reporters that his favorites were

Drowning Pool’s "Bodies" and Metallica's "Enter Sandman," while the

Sesame Street theme song and songs from the Barney TV show were also

in the repertoire.49

      All this – particularly material from Iraq – is relevant to

Guantánamo as well since General Miller and others specifically spread

the contagion between Cuba and Iraq as he transferred from one theater

to the other. He declared he was there to “GTMO-ize Iraq,” which ended

in sadly predictable fashion at Abu Ghraib. The use of shared playlists is

evident from the training given to guards:

           Songs from "Barney" and "Sesame Street" were high on the
           repeat list, and when one U.S. operative talked to Newsweek
           (via the BBC), he claimed part of their training was listening
           to Barney's "I Love You" song for a 45-minute, continuous

48   Lane DeGregory, Soldiers take on insurgents with a musical
vengeance, cranking up the volume to distress the enemy. The choice of
tunes might surprise, St. Petersburg Times (Nov. 21, 2004); Moustafa
Bayoumi, Disco Inferno, The Nation (Dec. 26, 2005), available at
http://www.thenation.com/doc/20051226/bayoumi.
49 BBC, Sesame Street breaks Iraqi POWs: Heavy metal music and

popular American children's songs are being used by US interrogators to
break the will of their captives in Iraq (May 20, 2003), available at
http://news.bbc.co.uk/go/pr/fr/-/2/hi/middle_east/3042907.stm.
                                      22
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               loop. He was quoted as saying, "I never want to have to go
               through that again."50

                            LEGAL ARGUMENT

     I.     The kind of abuses that were routinely applied by the executive
            against the prisoners in Guantánamo (and other secret U.S.
            prisons) are of a nature that had not crossed the desks of U.S.
            judges for over one hundred years.

          We have to go back decades, and sometimes more than a century,

to find cases from U.S. domestic law where the forms of abuse used

against Appellant and other Guantánamo prisoners were last discussed.

For example, if we look for examples of rendition (albeit far less

significant than Appellant faced),51 incommunicado detention (of a far




50Kelly, supra note 29, Songs that were used to Torture.
51Ward v. Texas, 316 U.S. 547, 62 S.Ct. 1139 (1942) (involuntary
statement where suspect was taken from his hometown, driven for three
days from county to county, placed in a jail more than 100 miles from his
home, questioned continuously, and abused).
                                   23
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lesser duration than here),52 incessant questioning53 which was

prolonged (but did not last months and years as here),54 we generally

have to go back at least half a century. It is the same if we look for the




52   Fikes v. Alabama, 352 U.S. 191, 77 S.Ct. 281 (1957) (statements
resulting from incarceration in isolation for a week of questioning were
not voluntary, notwithstanding absence of physical brutality); Lisenba v.
California, 314 U.S. 219, 237, 62 S.Ct. 280, 291-92, 86 L.Ed. 166 (1941)
(“we think it right to add that where a prisoner held incommunicado is
subjected to questioning by officers for long periods, and deprived of the
advice of counsel, we shall scrutinize the record with care to determine
whether, by the use of his confession, he is deprived of liberty or life
through tyrannical or oppressive means.”); Payne v. Arkansas, 356 U.S.
560, 78 S.Ct. 844 (1958) (statement by suspect involuntary where he was
held incommunicado for three days, without counsel, adviser or friend,
and though members of his family tried to see him they were turned
away, and he was refused permission to make even one telephone call,
was denied food for long periods, and was threatened by the chief of police
‘that there would be 30 or 40 people there in a few minutes that wanted
to get him,’ which statement created such fear as immediately produced
the ‘confession’).
53 Turner v. Pennsylvania, 338 U.S. 62, 69 S.Ct. 1352 (1949) (confession

exacted as the result of questioning by relays of officers from four to six
hours a day for five days, during which time defendant was not permitted
to see friends or relatives, was involuntary as a denial of due process).
54 McNabb v. United States, 318 U.S. 332, 342, 343, 63 S.Ct. 608, 613,

614, 87 L.Ed. 819 (1943) (“Legislation throughout the country reflects a
similar belief that detention for purposes of eliciting confessions through
secret, persistent, long continued interrogation violates sentiments
deeply embedded in the feelings of our people.”).
                                     24
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denial of medical care,55 or the prolonged denial of food.56 If we search for

cases of severe and intentional beatings most of the caselaw is over a

century old.57 We have to go back slightly over a century to find a

reference to Strappado58 – named by the Spanish Inquisition – which has

sadly been put back into use by the United States. To find a case


55   Ziang Sung Wan v. U.S., 266 U.S. 1, 45 S.Ct. 1 (1924) (confession
involuntary where he was interrogated for seven days and was weak and
exhausted from illness).
56 Payne v. Arkansas, 356 U.S. 560, 78 S.Ct. 844 (1958) (statement by

suspect involuntary where he was held incommunicado for three days,
without counsel, adviser or friend, and though members of his family
tried to see him they were turned away, and he was refused permission
to make even one telephone call, was denied food for long periods, and
was threatened by the chief of police ‘that there would be 30 or 40 people
there in a few minutes that wanted to get him,’ which statement created
such fear as immediately produced the ‘confession’); Enoch v. Com., 141
Va. 411, 126 S.E. 222 (Va. 1925) (confession involuntary where defendant
was denied food over two days, was exhausted, and fainted, though no
threats or promises were made).
57 State v. Butts, 349 Mo. 213, 159 S.W.2d 790, 791 (1942) (confession

suppressed as involuntary when defendant was beaten and his injuries
were confirmed by the jail physician); see also Hector (A Slave) v. State,
2 Mo. 166, 1829 WL 1770 (Mo.), 22 Am.Dec. 454 (Sept. 1829); Lang v.
State, 178 Wis. 114, 189 N.W. 558 (Wis. 1922); State v. Myers, 312 Mo.
91, 278 S.W. 715 (Mo. 1925); State v. Ellis, 294 Mo. 269, 242 S.W. 952
(Mo. 1922); Williams v. State, 2 Miss.Dec. 601, 1882 WL 4347 (Miss.
1882).
58 McClung v. Star-Chronicle Pub. Co., 274 Mo. 194, 202 S.W. 571 (Mo.

1918) (where warden of penitentiary kept convict “in rings” 14 hours a
day for 20 days to compel him to confess as to where he got whisky, he
used “torture” within dictionary meaning; “It is there said to have been
last used in England in 1640.”).
                                    25
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involving second degree torture (forcing prisoners to watch or listen to

the abuse of other prisoners), we must go back 156 years.59

        When it comes to using music on prisoners, this is a more modern

form of abuse – it could not have occurred a hundred years ago as the

interrogators would have been required to rent an orchestra to play the

same tune over and over.        Hence Appellant’s case may boast an

unfortunate record as the first where torture by music may be addressed

directly by a U.S. court.

        There is no doubt that the use of music was intended simply to

‘break’ Appellant. Indeed, the Guantánamo Bay Standard Operating

Procedures (“SOPs”) tell their own story. See Camp Delta Standard

Operating Procedures, Joint Task Force Guantánamo (published March

28, 2003). For example, the Behavior Management Plan describes how

it is designed to “enhance and exploit the disorientation and

disorganization felt by a newly arrived detainee in the interrogation




59   State v. Lawson, Phil.Law 47, 1866 WL 1070 (N.C. 1866) (confessions
made by a prisoner, a slave, whilst witnessing torture inflicted upon
another prisoner for the same offence, in order to extort confession from
him, are not competent evidence).
                                   26
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process.” See Camp Delta SOP 4-20, Joint Task Force Guantánamo

(published March 28, 2003).

     II.     The abuses applied in these cases have undermined the U.S. in
             multiple ways and it is past time that the Courts make clear that
             this is not what America should stand for.

           As the Wall Street Journal put it, “[p]ersonal responsibility, along

with compassionate conservatism and limited government, [was] a

mainstay of Mr. Bush’s presidential campaign.”60 It is not compassionate;

it is not conservative; and it is not a reflection of “limited government”

when the Executive Branch tortures prisoners. Similarly, it is none of

these things blatantly to lie about it.61

           There must be some accountability here.




60 Albert R. Hunt, Bush Calls for Personal Responsibility … for Others,
Wall     Street     Journal     (May    4,    2000),     available   at
https://www.wsj.com/articles/SB957398672247230798 (accessed Nov. 8,
2022).
61 Human Rights Watch, US: Senate report Slams CIA Torture, Lies (Dec.

10, 2014), available at https://www.hrw.org/news/2014/12/10/us-senate-
report-slams-cia-torture-lies (accessed Nov. 21, 2022) (“The summary
documents numerous misrepresentations the CIA made about the
program’s effectiveness and demonstrates US officials’ knowledge that it
was illegal.”), citing U.S. Senate Intelligence Committee’s report
summary on the Central Intelligence Agency (CIA) detention and
interrogation program.
                                    27
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      For the most part, there is none. Harry Shearer sings in Who is

Yoo? of the so-called “torture memos” that were created primarily by John

Yoo (later appointed a Professor of Law at Berkeley) and Jay S. Bybee

(later appointed a federal appellate judge on the Ninth Circuit).62

      There are various ways in which this responsibility could be

imposed, yet none has been thus far. Cf. 17 U.S.C. §110 (defining the

scope of copyright infringement).63 Yet it is a separate moral and legal

offense to use evidence abused out of Appellant, or obtained similarly

from others, against someone who continues to be held effectively




62 Andrew Cohen, The Torture Memos, 10 Years Later, The Atlantic (Feb.
6, 2012), available at https://www.theatlantic.com/national/archive/
2012/02/the-torture-memos-10-years-later/252439/ (accessed Nov. 8,
2022).
63 In an interview with National Public Radio, Christopher Cerf, a writer

of songs for Sesame Street since 1970 was horrified that his music was
being used to torture people: “Oh my gosh, this is terrible. My music is
torturing people.'” Despite his strong opposition, he did think that at the
very least the government should have to pay “royalties from it. ASCAP
and BMI, I hope you're listening, because theoretically if the Army is
playing those songs in a public place or even a semi-public place in Iraq,
maybe we're entitled to a few cents and, of course, if Halliburton and
Bechtel and all those guys can get paid out of the war, why shouldn't we?”
Interrogation Music, NPR (June 7, 2003), available at
https://www.npr.org/templates/story/story.php?storyId=1290449
(accessed Nov. 21, 2022).
                                    28
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incommunicado,64 thousands of miles from his family. Indeed, the UN

CAT has a specific answer to this suggestion:

           Each State Party shall ensure that any statement which is
           established to have been made as a result of torture shall not
           be invoked as evidence in any proceedings, except against a
           person accused of torture as evidence that the statement was
           made.

CAT Art. 15.




64Hamdi v. Rumsfeld, 542 U.S. 507 (2004) (rejecting the government’s
argument “that Hamdi's incommunicado imprisonment as an enemy
combatant seized on the field of battle falls within the President's power
as Commander in Chief under the laws and usages of war, and is in any
event authorized by two statutes.") (emphasis supplied).
                                   29
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                            CONCLUSION

      This Court should not slam the prison gate on Appellant when

evidence is being used in contravention of these fundamental issues.

Music is said to have charms to soothe the savage beast; here human

beings have been treated as beasts, and music has been corrupted and

used as a sinister tool of psychological torture.     As musicians, the

members of Amicus call for the use of their art—and for all torture and

other abuses—to be definitively and forever banned in the interrogation

of prisoners.

Dated: November 28, 2022         Respectfully submitted,

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                     CERTIFICATE OF COMPLIANCE

      This brief complies with the type-volume limitation of Federal

Rules of Appellate Procedure 29(a)(5) and 32(a)(7) because the brief

contains 6,291 words, excluding the parts of the brief exempt by Federal

Rule of Appellate Procedure 32(f).

      This brief complies with the typeface requirements of Federal Rule

of Appellate Procedure 32(a)(5) and the type-style requirements of

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prepared in a proportionally spaced typeface using Microsoft Word in 14-

point Century typeface.




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                     CERTIFICATE OF SERVICE

      I hereby certify that I electronically filed the foregoing with the

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of Columbia Circuit by using the appellate CM/ECF system on November

28, 2022.

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